Case 2:10-md-02179-CJB-DPC Document 6719-1 Filed 06/16/12 Page 1 of 2




                 ATTACHMENT A
                                                                      Case 2:10-md-02179-CJB-DPC Document 6719-1 Filed 06/16/12 Page 2 of 2

US Response                               First         Last          DocDate Privileges Relevance Author                     Recipients                           Attorney                 Description                              Basis                                               Family               Redacted   Log No.   File                        Sheet Name
Entry corrected, US continues to assert   N8P004-000176 N8P004-000180 20100731 WP        P2 Qua    Caramanian, Lori, DOI      Wereley, Steven, FRTG                Caramanian, Lori, DOI;   Email re In Light of Your Popularity     Internal communication disucssing request from      N8P004-000176-       N/A        Log 29    BP Challenges to AC-WP      Quantification List
privilege                                                                                                                                                          Department of Justice                                             DOJ counsel made in confidence in preparation for   N8P004-000180                             Entries on US Privilege
                                                                                                                                                                                                                                     anticipated litigation                                                                        Logs 5/21/2012
Entry corrected, US continues to assert   N8P004-000181 N8P004-000182 20100616 WP                    Caramanian, Lori, DOI    Wereley, Steven, FRTG; McNutt,       Caramanian, Lori, DOI;   Email re In Light of Your Popularity     Internal communication disucssing request from      N8P004-000181-       N/A        Log 29    BP Challenges to AC-WP      Quantification List
privilege                                                                                                                     Marcia, DOI                          Department of Justice                                             DOJ counsel made in confidence in preparation for   N8P004-000182                             Entries on US Privilege
                                                                                                                                                                                                                                     anticipated litigation                                                                        Logs 5/21/2012
Entry corrected, US continues to assert   NOA023-001598 NOA023-001601 20101218 WP         P2 Qua     Espina, Pedro I., DOC    McNutt, Marcia, USGS; Wereley,       Department of Justice    Email re PNAs Format for Papers          Internal communication disucssing request from      NOA023-001598-       N/A        Log 09    BP Challenges to AC-WP      Quantification List
the privilege                                                                                                                 Steven, FRTG; Lehr, William J., DOC;                                                                   DOJ counsel made in confidence in preparation for   NOA023-001601                             Entries on US Privilege
                                                                                                                              Lasheras, Juan, FRTG; Riley, James                                                                     anticipated litigation                                                                        Logs 5/21/2012
                                                                                                                              J., FRTG; Possolo, Antonio, NIST;
                                                                                                                              Leifer, Ira, FRTG; Savas, Ömer,
                                                                                                                              FRTG; Bommer, Paul M., FRTG;
                                                                                                                              Shaffer, Franklin, DOE; Aliseda,
                                                                                                                              Alberto, FRTG
Entry corrected, US continues to assert   NOA023-001606 NOA023-001610 20101218 WP         P2 Qua     McNutt, Marcia K., DOI   Espina, Pedro I., DOC; Wereley,      Department of Justice    Email re PNAs Format for Papers          Internal communication disucssing request from    NOA023-001606-         N/A        Log 09    BP Challenges to AC-WP      Quantification List
the privilege                                                                                                                 Steven, FRTG; Lehr, William J., DOC;                                                                   DOJ counsel made in confidence in preparation for NOA023-001610                               Entries on US Privilege
                                                                                                                              Lasheras, Juan, FRTG; Riley, James                                                                     anticipated litigation                                                                        Logs 5/21/2012
                                                                                                                              J., FRTG; Possolo, Antonio, DOC;
                                                                                                                              Leifer, Ira, FRTG; Savas, Ömer,
                                                                                                                              FRTG; Bommer, Paul M., FRTG;
                                                                                                                              Shaffer, Franklin, DOE; Aliseda,
                                                                                                                              Alberto, FRTG; Flores, Oscar, FRTG

Entry corrected, US continues to assert   NOA023-001616 NOA023-001620 20101218 WP         P2 Qua     Wereley, Steven, FRTG McNutt, Marcia K., DOI; Espina, Pedro Department of Justice      Email re PNAs Format for Papers          Internal communication disucssing request from    NOA023-001616-         N/A        Log 09    BP Challenges to AC-WP      Quantification List
the privilege                                                                                                              I., DOC; Lehr, William J., DOC;                                                                           DOJ counsel made in confidence in preparation for NOA023-001620                               Entries on US Privilege
                                                                                                                           Lasheras, Juan, FRTG; Riley, James                                                                        anticipated litigation                                                                        Logs 5/21/2012
                                                                                                                           J., FRTG; Possolo, Antonio, DOC;
                                                                                                                           Leifer, Ira, FRTG; Savas, Ömer,
                                                                                                                           FRTG; Bommer, Paul M., FRTG;
                                                                                                                           Flores, Oscar, FRTG
Entry corrected, US continues to assert   NPT086-000085 NPT086-000085 20101218 WP         P2 Qua     McNutt, Marcia, USGS Wereley, Steven T., FRTG; Lehr,        Department of Justice      Email re PNAs Format for Papers          Internal communication disucssing request from    NPT086-000085-         N/A        Log 09    BP Challenges to AC-WP      Quantification List
the privilege                                                                                                              William J., DOC; Lasheras, Juan,                                                                          DOJ counsel made in confidence in preparation for NPT086-000085                               Entries on US Privilege
                                                                                                                           FRTG; Riley, James J., FRTG; Espina,                                                                      anticipated litigation                                                                        Logs 5/21/2012
                                                                                                                           Pedro I., DOC; Possolo, Antonio, DOC;
                                                                                                                           Leifer, Ira, FRTG; Savas, Omer,
                                                                                                                           FRTG; Bommer, Paul, FRTG;
                                                                                                                           Shaffer,Franklin, DOE; Aliseda,
                                                                                                                           Alberto, FRTG; Flores, Oscar, FRTG

Entry corrected, US continues to assert   NPT086-000087 NPT086-000087 20101218 WP         P2 Qua     Wereley, Steven, FRTG Leifer, Ira, FRTG; Bommer, Paul M.,    Department of Justice     Email re PNAs Format for Papers          Internal communication disucssing request from    NPT086-000087-         N/A        Log 09    BP Challenges to AC-WP      Quantification List
the privilege                                                                                                               FRTG; Savas, Omer, FRTG; Shaffer,                                                                        DOJ counsel made in confidence in preparation for NPT086-000087                               Entries on US Privilege
                                                                                                                            Franklin, DOE; Possolo, Antonio, DOC;                                                                    anticipated litigation                                                                        Logs 5/21/2012
                                                                                                                            Espina, Pedro, DOC
Entry corrected, US continues to assert   NPT086-000104 NPT086-000104 20110122 AC;WP      P2 Qua     Shaffer, Franklin, DOE Lehr, William J., DOC                 Department of Justice     Email re PNAS Image Velocimetry Draft    Internal communication discussing request by DOJ NPT086-000104-          N/A        Log 09    BP Challenges to AC-WP     Quantification List
the privilege                                                                                                                                                                                                                        for information in preparation for anticipated litigationNPT086-000104                        Entries on US Privilege
                                                                                                                                                                                                                                                                                                                                   Logs 5/21/2012
This document was errroneously included HCG156-000005 HCG156-000006 20110726 LP           AC         Sutton, Steve, DHS       Woodle, Christopher CDR, DHS         Kennealy, Heather, DHS   Email re 30(b)(6) of USA - Coast Guard   Internal communication transmitting and discussing HCG156-000005-        N/A        Log 15    BP Technical Challenges to Other Blanks
on the US Privilege Logs. It does not                                                                                                                                                       Witnesses                                legal advice of counsel given in anticipation of   HCG156-000006                              US Privilege Logs
require a log entry because it is forwarding                                                                                                                                                                                         litigation                                                                                    5/21/2012
an email from an attorney (Heather
Kennealy) and constitutes post-April 20,
2010 attorney-client communication.
